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                           IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF PUERTO RICO


     IN RE:

     SKYTEC, INC.                                  CASE NO. 18-05288(ESL)
                                                   CHAPTER 11
            DEBTOR
     __________________________________


       ORIENTAL BANK’S PROPOSED FINDINGS OF FACTS AND CONCLUSIONS OF LAW FOR
         HEARING ON CONTESTED MATTER REGARDING THE LOGISITIC SYSTEM, INC’S
       “OPPOSITION TO JOINT STIPULATION FOR THE INTERIM USE OF CASH COLLATERAL
                               AND ADEQUATE PROTECTION”

     TO THE HONORABLE COURT:

              Comes now, secured creditor ORIENTAL BANK (Oriental), through its

     undersigned counsel and respectfully submits its proposed Findings of Facts and

     Conclusions of Law for the hearing on the contested matter regarding Logistic System,

     Inc’s (“Logistic”) “Opposition to Joint Stipulation for the Interim Use of Cash Collateral

     and Adequate Protection” schedule for March 26, 2019 (the “Hearing”).

                              I.   PROPOSED FINDINGS OF FACTS

        a.     Debtor’s pre-petition indebtedness to Oriental Bank


              1.     Prior to the Petition Date, the Debtor entered into a loan agreement with

     Oriental, pursuant to which Oriental restructured certain credit facility previously granted

     to the Debtor (the “Loan”). See, Claim no. 5 at the Claims Register

              of Case No. 18-05288(ESL), pages 5-30.

              2.     The Loan is evidenced by the loan documents (collectively, the “Loan

     Documents”) detailed in and attached to Oriental’s Proof of Claim no. 5 (the “POC”). See,

     Claim no. 5 at the Claims Register of Case No. 18-05288(ESL), pages 5-30.
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                3.          The Loan is secured by, among other things, a duly perfected and

     enforceable first-rank security interest over the following properties belonging to the

     Debtor:

                            a.          All accounts receivable of the Debtor and all profits, proceeds,
                                        products and benefits of the same (collectively, the “Accounts
                                        Receivable”);

                            b.          All rights, claims and benefits of the Debtor against any Person
                                        arising out of or in relation to the property described in subsection
                                        (a) mentioned above;

                            c.          All benefits, proceeds, rents or products of the Accounts (including
                                        any product, proceeds, rent or benefit in cash) and any product of
                                        such property, including, but not limited to, payments, collections,
                                        or any sale, exchange, or other type of disposal of the Collateral and
                                        any financial asset, good or instrument acquired with all or part of
                                        the product, proceeds, rent or benefit of the Collateral; and

                            d.          All inventory of the Debtor, including, but not limited to the
                                        inventory the Debtor uses for the sale or otherwise, including all
                                        supplies, work in progress, finalized goods and materials used or
                                        consumed in the operation of the Debtor’s business together and
                                        replacements    and    all   additions   or   appurtenances     thereto
                                        (collectively, the “Inventory”).

     See, UCC Report attached to Claim no. 5 at the Claims Register of Case No. 18-

     05288(ESL), pages 31-39. See also, Financing Statements no. 2013001732, 2015007186

     and 20180000244 filed at the Registry of Commercial Transactions of the Department of

     State of the Commonwealth of Puerto Rico.
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                4.          Oriental’s security interest in the Inventory and Accounts Collateral was

     perfected by filing various Financing Statements at the Registry of Commercial

     Transactions of the Department of State of the Commonwealth of Puerto Rico. See, UCC

     Report attached to Claim no. 5 at the Claims Register of Case No. 18-05288(ESL), pages

     31-39. See also, Financing Statements no. 2013001732, 2015007186 and 20180000244

     filed at the Registry of Commercial Transactions of the Department of State of the

     Commonwealth of Puerto Rico.


                5.          As part of the Loan Documents and Collateral for the Loan, the Debtor

     granted to Oriental a lien over its cash collateral; specifically, the income generated by the

     Debtor from the Accounts Receivables and Inventory, and related proceeds, products,

     rents, substitutions, replacements, benefits, additions and/or appurtenances. See, UCC

     Report attached to Claim no. 5 at the Claims Register of Case No. 18-05288(ESL), pages

     31-39. See also, Financing Statements no. 2013001732, 2015007186 and 20180000244

     filed at the Registry of Commercial Transactions of the Department of State of the

     Commonwealth of Puerto Rico.


          b. Procedural Background:


                  6.        The Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy

     Code (the “Code”) on September 12, 2018 (the “Petition Date”). See, Docket Entry no. 1

     of Bankruptcy Case no. 18-05288(ESL).


                  7.        On Amended Schedule D, Oriental Bank was listed as a secured creditor in

     the amount of $2,008,335.59. Furthermore, Debtor listed the value of the collateral that
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     supports Oriental’s claim at $2,177,454.00. See, Docket Entry no. 89-1 of Bankruptcy Case

     no. 18-05288(ESL), page 11.

                  8.        On Amended Schedule E/F, Logistic System, Inc. was listed as an

     unsecured creditor in the amount of $3,711,945.00, and the claim was scheduled as

     contingent, unliquidated and disputed. See, Docket Entry no. 89-1 of Bankruptcy Case no.

     18-05288(ESL), page 16.

                  9.        On October 18, 2018, Oriental Bank filed a secured claim in the amount of

     $2,026,902.06 and regarding a Commercial Term Loan. In such claim, Oriental claimed

     pre-petition arrears in the amount of $2,557.28. See, Claim no. 5 at the Claims Register of

     Case No. 18-05288(ESL).

                  10.        As of this date, neither the Debtor or any other party in interest has filed an

     objection to Oriental’s secured Claim no 5. See, Claim no. 5 at the Claims Register of Case

     No. 18-05288(ESL).

                  11.       On November 13, 2018, the Court issued an Order modifying the automatic

     stay provisions of Section 362(a) in favor of Logistic for the limited purpose of allowing

     the action before the U.S. District Court to continue up to the point of judgment.

     Furthermore, the court stated that the judgment shall be processed and channeled through

     the bankruptcy case. See, Docket Entry no. 56 of Bankruptcy Case no. 18-05288(ESL).

                  12.       On November 27, 2018, Debtor and Oriental filed a “Stipulation for Interim

     Use of Cash Collateral and Adequate Protection” (the “Stipulation”). According to the

     Stipulation, Debtor and Oriental agreed to a monthly adequate protection payment in the

     amount of $12,786.49 and the granting of replacement liens and post-petition security

     interest on all the assets and collateral acquired by Debtor on or after the petition date.
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     Furthermore, the Stipulation provided additional adequate protection to Oriental Bank.

     See, Docket Entry no. 56 of Bankruptcy Case no. 18-05288(ESL).

                  13.       On December 4, 2018, Logistic System Inc. (“Logistic”) filed an “Objection

     to Joint Stipulation for the Interim Use of Cash Collateral and Adequate Protection”

     (“Logistic’s Objection”). See, Docket Entry no. 71 of Bankruptcy Case no. 18-05288(ESL).

                  14.       On December 24, 2018, Oriental filed its Reply to Logistic’s Objection to

     Stipulation. See, Docket Entry no. 76 of Bankruptcy Case no. 18-05288(ESL).

                  15.       On January 3, 2019, the Honorable Court entered an order setting a hearing

     for March 26, 2019, on the contested matter initiated by Logistic’s Objection and approving

     the Stipulation for the interim use of cash collateral between Debtor and Oriental up to the

     date on which the merits of the objection filed by Logistic will be considered, particularly

     as to how unsecured creditors are adversely affected by the Stipulation. See, Docket Entry

     no. 76 of Bankruptcy Case no. 18-05288(ESL).

                  c.        Logistic’s Claim and Objection to the Stipulation

                  16.       On Amended Schedule E/F, Logistic System, Inc. was listed as an

     unsecured creditor in the amount of $3,711,945.00, and the claim was scheduled as

     contingent, unliquidated and disputed. See, Docket Entry no. 89-1 of Bankruptcy Case no.

     18-05288(ESL), page 16.

                  17.       On January 15, 2019, Logistic filed an unsecured claim in the amount of

     $5,167,601.86. See, Claim no. 9 at the Claims Register of Case No. 18-05288(ESL).

                18.         Logisitic has not claimed any security interest over Debtor’s cash collateral.

     See, Claim no. 9 at the Claims Register of Case No. 18-05288(ESL).
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                19.         On its Objection to the Stipulation, Logistic stated that it has no objection

     to Oriental being provided with monthly payments in the amount provided by the

     underlying Loan Documents ($12,786.49) and with the right to require cash collateral be

     deposited into a segregated account, but objects to the other concessions proposed by

     Debtor in the Stipulation. See, Docket Entry no. 71 of Bankruptcy Case no. 18-05288(ESL).

     page 17.

                20.         Besides Logistic, no other creditor or party in interest has filed an Objection

     to the Stipulation. See, Docket Report of Bankruptcy Case no. 18-05288(ESL), page 2.



                d.          Debtor’s use of Cash Collateral

                21.         Debtor acknowledged that in order to continue its operations, Debtor

     needed Oriental’s consent to use its cash collateral. See, Docket Entry no. 77 of Bankruptcy

     Case no. 18-05288(ESL), page 2.

                22.         Debtor acknowledged that without the use of the cash collateral Debtor

     would have had to shut down since it does not have another form of financing. See, Docket

     Entry no. 77 of Bankruptcy Case no. 18-05288(ESL), page 2.

                23.         Debtor acknowledged that the replacement liens and other protections

     granted to Oriental are typical, particularly for a case that does not have real estate

     collateral. See, Docket Entry no. 77 of Bankruptcy Case no. 18-05288(ESL), page 2.

                24.         The Stipulation for the interim use of cash collateral, does not contain any

     clause entitling Oriental to automatically obtain relief from the automatic stay upon

     Debtor’s default under the Stipulation, nor allowing Oriental to foreclose on its collateral
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     without first obtaining a court order. See, Docket Entry no. 67 of Bankruptcy Case no. 18-

     05288(ESL).

                d.          Debtor’s Monthly Operating Reports (“MOR”)

                25.         On Schedule A/B, Debtor listed its accounts receivables at $1,650,228.00.

     See, Docket Entry no. 29 of Bankruptcy Case no. 18-05288(ESL), page 4, line 12.

                26.         On Schedule A/B, Debtor listed its inventory at $486,874.00. See, Docket

     Entry no. 29 of Bankruptcy Case no. 18-05288(ESL), page 3, line 23.

                27.         On Schedule A/B, Debtor listed its cash or cash equivalents owned or

     controlled by the Debtor at $433,622.00. See, Docket Entry no. 29 of Bankruptcy Case no.

     18-05288(ESL), page 2, line 5.

                28.         On the MOR for the period of September 12, 2018 to September 30, 2018,

     Debtor listed its accounts receivables at $1,426,793.00. See, Docket Entry no. 63 of

     Bankruptcy Case no. 18-05288(ESL), page 3, line 25.

                29.         On the MOR for the period of October 1, 2018 to October 31, 2018, Debtor

     listed the inventory balance at the beginning of the month, which correspond to the

     inventory balance as the end of the month of September 2018 at $471,601.12. See, Docket

     Entry no. 66 of Bankruptcy Case no. 18-05288(ESL), page 7.

                30.         On the MOR for the period of September 12, 2018 to September 30, 2018,

     Debtor listed its ending cash balance at $879,915.00. See, Docket Entry no. 63 of

     Bankruptcy Case no. 18-05288(ESL), page 2, line 23.

                31.         On the MOR for the period of October 1, 2018 to October 31, 2018, Debtor

     listed its end of the month balance of accounts receivables at $1,173,811.38. See, Docket

     Entry no. 66 of Bankruptcy Case no. 18-05288(ESL), page 4.
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                32.         On the MOR for the period of October 1, 2018 to October 31, 2018, Debtor

     listed its end of the month balance of inventory at $558,197.01. See, Docket Entry no. 66

     of Bankruptcy Case no. 18-05288(ESL), page 7.

                33.         On the MOR for the period of October 1, 2018 to October 31, 2018, Debtor

     listed its ending cash balance at $919,723.81. See, Docket Entry no. 66 of Bankruptcy Case

     no. 18-05288(ESL), page 2, line 7.

                34.         On the MOR for the period of November 1, 2018 to November 30, 2018,

     Debtor listed its end of the month balance of accounts receivables at $1,153,689.85. See,

     Docket Entry no. 77 of Bankruptcy Case no. 18-05288(ESL), page 4.

                35.         On the MOR for the period of November 1, 2018 to November 30, 2018,

     Debtor listed its end of the month balance of inventory at $524,526.77. See, Docket Entry

     no. 77 of Bankruptcy Case no. 18-05288(ESL), page 7.

                36.         On the MOR for the period of November 1, 2018 to November 30, 2018,

     Debtor listed its ending cash balance at $750,924.46. See, Docket Entry no. 77 of

     Bankruptcy Case no. 18-05288(ESL), page 2, line 7.

                37.         On the MOR for the period of December 1, 2018 to December 31, 2018,

     Debtor listed its end of the month balance of accounts receivables at $1,147,079.31. See,

     Docket Entry no. 107 of Bankruptcy Case no. 18-05288(ESL), page 4.

                38.         On the MOR for the period of December 1, 2018 to December 31, 2018,

     Debtor listed its end of the month balance of inventory at $569,055.77. See, Docket Entry

     no. 107 of Bankruptcy Case no. 18-05288(ESL), page 7.
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                39.         On the MOR for the period of December 1, 2018 to December 31, 2018,

     Debtor listed its ending cash balance at $1,206,254.29. See, Docket Entry no. 107 of

     Bankruptcy Case no. 18-05288(ESL), page 2, line 7.

                40.         On the MOR for the period of January 1, 2019 to January 30, 2019, Debtor

     listed its end of the month balance of accounts receivables at $1,239,389.11. See, Docket

     Entry no. 113 of Bankruptcy Case no. 18-05288(ESL), page 4.

                41.         On the MOR for the period of January 1, 2019 to January 30, 2019, Debtor

     listed its end of the month balance of inventory at $519,957.30. See, Docket Entry no. 113

     of Bankruptcy Case no. 18-05288(ESL), page 7.

                42.         On the MOR for the period of January 1, 2019 to January 30, 2019, Debtor

     listed its ending cash balance at $707,409.16. See, Docket Entry no. 113 of Bankruptcy

     Case no. 18-05288(ESL), page 2, line 7.

                43.         On the MOR for the period of February 1, 2019 to February 28, 2019,

     Debtor listed its end of the month balance of accounts receivables at $1,379,252.66. See,

     Docket Entry no. 134 of Bankruptcy Case no. 18-05288(ESL), page 4.

                44.         On the MOR for the period of February 1, 2019 to February 28, 2019,

     Debtor listed its end of the month balance of inventory at $519,292.08. See, Docket Entry

     no. 134 of Bankruptcy Case no. 18-05288(ESL), page 7.

                45.         On the MOR for the period of February 1, 2019 to February 28, 2019,

     Debtor listed its ending cash balance at $550,595.92. See, Docket Entry no. 134 of

     Bankruptcy Case no. 18-05288(ESL), page 2, line 7.
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                46.         In summary, the Debtor’s Monthly Operating Reports show the following

     information:

                                             Accounts      Inventory    Cash at end of       Total
                                           Receivables                    the Month
               Date of the                $1,650,228.00   $486,874.00   $433,622.00      $2,570,724.00
                 Petition
             (Docket no. 29)
            MOR September                 $1,426,793.00   $471,601.12   $879,915.00      $2,778,309.12
                  2018
             (Docket no. 63)
                  MOR                     $1,173,811.38   $558,197.01   $919,723.81      $2,651.732.20
              October 2018
             (Docket no. 66)
                  MOR                     $1,153,689.85   $524,526.77   $750,924.46      $2,429,141.08
             November 2018
             (Docket no. 75)
                  MOR                     $1,147,079.31   $569,055.77   $1,206,254.29    $2,922,389.37
             December 2018
            (Docket no. 107)
                  MOR                     $1,239,389.11   $519,957.30   $707,409.16      $2,466,755.57
              January 2019
            (Docket no. 113)
                  MOR                     $1,379,252.66   $519,292.08   $550,595.92      $2,449,140.66
              February 2019
            (Docket no. 134)


     See, Docket Entries no. 29, 63,66,75,107,113 and 134 of Bankruptcy Case no. 18-

     05288(ESL).

                47.         Debtor’s Monthly Operating Reports shows that since the filing of the

     petition and until February 28, 2019, Debtor’s accounts receivable have been reduced from

     $1,650,228.00 to $1,379,252.66 See, Docket Entries no. 29 and 134 of Bankruptcy Case

     no. 18-05288(ESL).

                48.         Debtor’s Monthly Operating Reports shows that since the filing of the

     petition and until February 28, 2019, Debtor’s accounts receivables, plus inventory, plus

     cash at the end of the month has been reduced from $2,570,724.00 to $2,449,140.66. See,

     Docket Entries no. 29 and 134 of Bankruptcy Case no. 18-05288(ESL).
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                49.         Debtor’s Monthly Operating Reports shows that during the pendency of the

     bankruptcy case, Oriental’s collateral has decrease. See, Docket Entries no. 29 and 134 of

     Bankruptcy Case no. 18-05288(ESL).

                                                  II.   CONCLUSIONS OF LAW

                a. Pursuant to Section 363(e) of the Bankruptcy Code, Debtor’s use of
                   Oriental’s Cash Collateral entitles Oriental to receive adequate protection.

                Due to the effect of the automatic stay, creditors are entitled to adequate protection

     of their secured claims during a bankruptcy case. Adequate protection means that the value

     of the creditor's interest in the collateral must be protected from diminution while the

     property is being used or retained in the bankruptcy case. United Savings Ass'n of Texas v.

     Timbers of Inwood Forest Assoc., Ltd., 484 U.S. 365, 108 S.Ct. 626, 98 L.Ed.2d 740

     (1988). The concept is derived from the Fifth Amendment's protection of property interest.

     See Wright v. Union Central Life Ins. Co., 311 U.S. 273, 61 S.Ct. 196, 85 L.Ed. 184 (1940);

     Louisville Joint Stock Land Bank v. Radford, 295 U.S. 555, 55 S.Ct. 854, 79 L.Ed. 1593

     (1935).

                A debtor-in-possession may not use cash collateral unless the secured creditor

     consents or the court authorizes the use of the cash collateral. 11 U.S.C. § 363(c)(2). On

     request of a party with an interest in cash collateral, the court must prohibit or condition a

     debtor's use of cash collateral “as is necessary to provide adequate protection of such

     interest.” 11 U.S.C. § 363(e). Adequate protection may be cash payments, replacement

     liens, or relief that “will result in the realization by such entity of the indubitable

     equivalent.” 11 U.S.C. § 361.

                The Bankruptcy Code does not define adequate protection. Instead, 11 U.S.C. §361

     provides a list of nonexclusive examples. These include lump sum cash payments, periodic
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     cash payments and additional or replacement liens. Under § 361(3) courts may fashion

     other forms of adequate protection based upon equitable considerations arising from the

     particular facts in each case. Bramham v. Nevada First Thrift (In re Bramham), 38 B.R.

     459, 466 (Bankr.D.Nev.1984).

                Clearly, however, the primary purpose of 11 U.S.C. §361 is to insulate the interest

     of a secured creditor in a debtor's property from diminution of value resulting from the

     delay in enforcing its rights occasioned by a debtor's need for time to work out its problems

     and reorganize its business under the protection of the automatic stay prescribed by 11

     U.S.C. s 362. Thus, the purpose of adequate protection is not to protect the secured creditor

     from loss per se, but to maintain the status quo and prevent any additional loss due to delay

     after a debtor files its petition in this Court. See, In re Alyucan Interstate Corp., 12 B.R.

     803, 808-809 (Bkrtcy.D.Utah 1981), cited in Matter of Karl A. Neise, Inc., 16 B.R. 600,

     601 (Bankr. S.D. Fla. 1981).


                 In order to encourage reorganization, the courts must be flexible in applying the

     adequate protection standard. This flexibility, however, must not operate to the detriment

     of the secured creditor's interest. In any given case, the bankruptcy court must necessarily

     (1) establish the value of the secured creditor's interest, (2) identify the risks to the secured

     creditor's value resulting from the debtor's request for use of cash collateral, and (3)

     determine whether the debtor's adequate protection proposal protects value as nearly as

     possible against risks to that value consistent with the concept of indubitable equivalence.

     Martin v. United States (In re Martin), 761 F.2d 472, 476–77 (8th Cir. 1985).

                Whenever a bankruptcy trustee or a debtor-in-possession proposes to use property

     of the bankruptcy estate in which a creditor has an interest, and the creditor requests
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     adequate protection, the court shall condition or prohibit the use of the property to the

     extent that the creditor is adequately protected. Martin v. Commodity Credit Corp. (In re

     Martin), 761 F.2d 472, 475 (8th Cir.1985). “ ‘Adequate protection’ is mandated by certain

     provisions of the Code when requested by an entity with an interest in property in which

     the estate has an interest. When an entity is stayed from enforcing its interest, when the

     estate proposes to use, sell or lease property in which the entity has an interest, and when

     property on which the entity has a lien is to be used as collateral for a loan, the entity is

     entitled to adequate protection as a matter of right.” 3 Collier on Bankruptcy, ¶ 361.02

     (Lawrence P. King et al. Eds., 15th ed. rev. 1979 & Supp.1999).


                However, adequate protection is not available to the unsecured creditor. 1 David G.

     Epstein et al., Bankruptcy § 3–27 (1992) citing In re Tellier, 125 B.R. 348, 349

     (Bankr.D.R.I.1991). The purpose of adequate protection is to ensure that a secured creditor

     receives the benefit of its bargain. In re Martin, 761 F.2d at 476 (citing S.Rep. No. 989,

     95th Cong., 2d Sess. 53, reprinted in 1978 U.S.Code Cong. & Ad.News 5787, 5839;

     H.R.Rep. No. 595, 95th Cong., 2d Sess. 339, reprinted in 1978 U.S.Code Cong. &

     Ad.News 5963, 6295); Unsecured Creditors' Committee v. Jones Truck Lines, Inc., 156

     B.R. 608, 610 (W.D.Ark.1992). In re Access, Inc., No. BKR. 99-04498-CH, 2000 WL

     35798996, at *3 (Bankr. S.D. Iowa Mar. 27, 2000)


                  Since it is almost certain that this case will probably turn into a highly litigated

     case, it does no violence to the concept of the Bankruptcy Code to require the Debtor to

     furnish adequate protection to Oriental as a secured creditor. On the contrary such an

     approach furthers the statutory schemes of Section 361 of the Bankruptcy Code by
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     protecting the rights of the secured creditor while complex reorganization issues are

     concluded. See, In re Born, 10 B.R. 43 (Bankr. S.D. Tex. 1981).


                b.          Alleged equity cushion as of the filing of the petition, is not sufficient to
                            provide Oriental with adequate protection.
                  Logistic is urging the Court to exclude post-petition proceeds from pre-petition

     collateral on equitable grounds. Logistic’s main argument is premised on the allegation

     that Oriental is oversecured with a purported 5% equity cushion. Even if such allegation

     is correct, it seems that a 5% cushion typically is not taken to constitute adequate

     protection. See Kost v. First Interstate Bank of Greybull, 102 B.R. 829, 831–32

     (D.Wyo.1989) (collecting cases; equity cushion of 20% or more generally held adequate

     while cushion of less than 11% generally held insufficient). See, e.g., In re Jug End in the

     Berkshires, Inc., 46 B.R. 892, 899–900 (Bankr.D.Mass.1985) (8.3% insufficient); In re

     LeMay, 18 B.R. 659, 660–61 (Bankr.D.Mass.1982) (7% is inadequate); see also In re

     Rogers Dev. Corp., 2 B.R. 679, 685 (Bankr.E.D.Va.1980) (15% to 20% equity cushion

     held to be sufficient to provide adequate protection to a creditor even though the debtors

     had no equity in the property); In re Schaller, 27 B.R. 959, 961–62 (W.D.Wis.1983) (17%

     to 18% cushion held not to offer adequate protection where cushion was being rapidly

     eroded by the daily accrual of interest on the debt); In re McGowan, 6 B.R. 241, 243

     (Bankr.E.D.Pa.1980) (holding a 10% cushion sufficient as adequate protection where

     monthly payments were proposed to cover interest accruing on the claim); In re Pitts, 2

     B.R. 476, 478 (Bankr.C.D.Cal.1979) (holding a 15% cushion to be “minimal”). Cases cited

     in Bank Rhode Island v. Pawtuxet Valley Prescription & Surgical Ctr., Inc., 386 B.R. 1, 5

     (D.R.I. 2008).
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         c.     Unsecured Creditors are not adversely affected by the Stipulation.
                Pursuant to the terms of the Stipulation, unsecured creditors are not being adversely

     affected. First, The Stipulation does not contain any clause entitling Oriental to

     automatically obtain relief from the automatic stay upon Debtor’s default under the

     Stipulation or the Loan Agreement. Thus, for Oriental to enforce or foreclose any of its

     liens, including the replacement liens granted under the Stipulation, Oriental must first

     request the relief from stay under Section 362 of the Bankruptcy Code and prove to the

     Bankruptcy Court that the collateral has diminished in value and/or there is no equity in

     the property and/or that it lacks of adequate protection. See, Qmect, Inc. v. Burlingame

     Capital Partners II, L.P., 373 B.R. 682, 690 (N.D. Cal. 2007) (Bankruptcy courts have

     held that lenders are not entitled to foreclose on replacement liens absent proof that

     collateral has diminished in value as a result of the automatic stay or the collateral's use

     during the pendency of a bankruptcy petition.) In re Sun Valley Ranches, Inc., 38 B.R. 595,

     598 (Br. Id. 1984). Thus, Oriental submits that the rights of the unsecured creditors are

     preserved during the pre-confirmation period by requiring Oriental to demonstrate the

     diminution of its collateral before being allowed to foreclose or enforce its liens, including

     its replacement liens afforded through the Stipulation.


          d. Oriental’s Right to Credit Bid and Receive Net Proceeds Upon a Sale
                Logistic argues that Oriental will improve its position if the Stipulation is approved

     because: (a) it will be allowed to credit bid on any assets; and (2) will be paid all net

     proceeds from any sale of its collateral without further order of the Court. Logistic assertion

     is incorrect.
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                In one hand, Section 363(k) permits a secured creditor to bid its claim at a sale out

     of the ordinary course and free and clear of liens. 11 U.S.C.A. §363(k). The Supreme Court

     has made clear that an estate representative may not sell property free and clear of liens

     without allowing a secured creditor an opportunity to exercise its credit bidding rights, both

     in the context of a § 363 sale and in a sale under a plan of reorganization. See, RadLAX

     Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 132 S. Ct. 2065, 2070 n.2 (2012)

     (“The ability to credit-bid helps to protect a creditor against the risk that its collateral will

     be sold at a depressed price [ ]” by enabling the secured “creditor to purchase the collateral

     for what it considers the fair market price (up to the amount of its security interest) without

     committing additional cash to protect the loan”); In re Philadelphia Newspapers, LLC, 599

     F.3d 298, 332–33, 52 Bankr. Ct. Dec. (CRR) 255, Bankr. L. Rep. (CCH) P 81719 (3d Cir.

     2010) (Ambro, J., dissenting) (“Indeed, while many of the valuation mechanisms (such as

     judicial valuation or market auction) may theoretically result in a perfect valuation,

     Congress has provided the credit bid mechanism as insurance for secured creditors to

     protect against an undervaluation of assets sold. Secured creditors who believe their

     collateral is being sold for too low a price may bid it higher and use as credit the dollars

     they have already extended (together with interest and other secured costs) to debtors. The

     benefit to debtors is that every additional dollar of value realized by sale of the collateral

     is one less dollar that needs to come out of the rest of the bankruptcy estate, which in turn

     may represent additional distribution to unsecured creditors. This effect is evidence of

     Congress's intent to protect secured creditors and maximize recovery at any sale free of

     liens, under the plan or under § 363, through § 363(k)'s credit bidding requirement.”); Beal
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     Bank, S.S.B. v. Waters Edge Ltd. Partnership, 248 B.R. 668 (D. Mass. 2000) (the right to

     credit bid gives the secured creditor protections against selling collateral too cheaply).


                In the other hand, and regarding Logisitic’s opposition to the payment to Oriental

     from the net proceeds from a sale of substantially all or any of Debtor’s assets securing the

     Loan Agreement, Logistic is omitting the certain relevant information. First, Oriental is not

     improving its position by the inclusion of ¶18 of the Stipulation. Instead, Debtor and

     Oriental are recognizing their pre-petition contractual rights included in ¶24 of the Term

     Loan Agreement executed by them, in which Debtor agreed, among other things, that in

     case of any sale or disposition of the Borrower’s (Debtor) assets outside of the ordinary

     course of business of Borrower (Debtor), then Borrower (Debtor) shall apply one hundred

     percent (100%) of the net proceeds of such sale or disposition to the prepayment of the

     Credit Facility. Second, Logistic omits to state that pursuant to the Stipulation, that any

     net proceeds of the sale payable to Oriental will be limited to an amount equivalent to

     the outstanding balance of the Loan Agreement, plus accrued post-petition interests

     and charges in accordance with the Bankruptcy Code. Lastly, Oriental submits that in

     order for Debtor to propose the sale of any of its assets, it must obtain the prior consent of

     the court, which will certainly consider how the unsecured creditors are being affected, and

     the Stipulation as drafted does not hinder such obligation.


          e. Oriental’s security interest attaches to the proceeds of its pre-petition
             collateral and the “equity of the case exception” should not be applied to this
             case.

                Section 552 of the Code governs attachment of pre-petition security interests to

     post-petition property that would otherwise become collateral upon the debtor acquiring

     rights in the collateral absent the debtor's bankruptcy. Under § 552(a), no pre-petition
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     security interest with an after acquired property provision attaches to a debtor's post-

     petition property. 11 U.S.C. § 552(a); see N.H. Bus. Dev. Corp. v. Cross Baking Co., Inc.

     (In re Cross Baking Co., Inc.), 818 F.2d 1027, 1029 (1st Cir.1987); Three Partners, Inc.,

     199 B.R. at 238; Wilke Truck Serv., Inc. v. Wiegmann (In re Wiegmann), 95 B.R. 90, 91–

     92 (Bankr.S.D.Ill.1989); see also William L. Norton, Jr., et al., Norton Bankruptcy Law

     and Practice 2d, § 62:2 (1997).

                Section 552(b), though, states the exception to this general rule. In addition to other

     forms of collateral not pertinent to this case, § 552(b)(1) provides that a pre-petition

     security interest does attach to post-petition proceeds derived from pre-petition collateral,

     notwithstanding § 552(a), only if that pre-petition security interest would have attached to

     those proceeds pursuant to applicable non-bankruptcy law. 11 U.S.C. § 552(b)(1); see In

     re Mintz, 192 B.R. 313, 318–19 (Bankr.D.Mass.1996).

                Additionally, § 552(b)(1) grants courts discretion to decide, based on equitable

     considerations, to what extent the pre-petition security interest attaches to post-petition

     proceeds. 11 U.S.C. § 552(b)(1); see Cross Baking Co., Inc., 818 F.2d at 1032–33;

     Wiegmann, 95 B.R. at 93.

                On ¶52 of its Objection, Logistic argues that “equities of the case exception” in

     Section 552(b) of the Bankruptcy Code allows a debtor, committee or other party-in-

     interest to exclude post-petition proceeds from pre-petition property on equitable grounds,

     including to avoid having unencumbered assets fund the cost of a secured lender’s

     foreclosure.


                Under section 552(b)(1) an entity with a valid security interest in proceeds in

     property is entitled to have that interest enforced, “except to any extent that the court, after
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     notice and a hearing and based on the equities of the case, orders otherwise.” 11 U.S.C. §

     552(b)(1). Under this standard, a Bankruptcy Court is required to “strike the proper balance

     between the rights of the secured creditor and the rehabilitative goals of the Code.” In re

     Island Helicopter Corp., 63 B.R. 515, 522 (Bankr.E.D.N.Y.1986); United Virginia Bank

     v. Slab Fork Coal Co. (In re Slab Fork Coal Co.), 784 F.2d 1188, 1191 (4th Cir.1986).


                Given that the primary purpose of the “equity exception is to prevent a secured

     creditor from reaping benefits from collateral that has appreciated in value as a result of

     the trustee’s/debtor-in possession’s use of other assets of the estate,” Great–West Life &

     Annuity Assurance Co. v. Parke Imperial Canton, Ltd., 177 B.R. 843, 855 (N.D.Ohio 1994)

     quoting Delbridge v. Production Credit Ass’n & Fed. Land Bank, 104 B.R. 824, 826

     (E.D.Mich.1989) (citations omitted), it appears that            Logistic’s equities of the case

     arguments do not apply to the current situation. Logistic has failed to show how Debtor or

     any other party in interest’s actions have caused any increase in value in Oriental’s

     collateral, when Debtor’s Monthly Operating Reports (MOR’s) shows that Oriental’s

     collateral is diminishing. In this case, Oriental is simply asserting a right to its validly

     protected security interests recognized under Section 552(b) of the Bankruptcy Code.

     Accordingly, Oriental submits that the equities of the case exception does not defeat the

     Oriental’s interest in the post-petition proceeds, benefits and/or products of its pre-petition

     collateral owned by the Debtor.

          f. Debtor’s use of the Cash Collateral prior to the Stipulation does not impair
             Oriental’s security interest in the proceeds of the cash collateral.
                  Logistic argues that due to the fact that Debtor has been using Oriental’s collateral

     without any concession prior to the filing of the Stipulation, Oriental’s security should not

     extend to post-petition collateral, which necessarily encompasses the proceeds of its pre-
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     petition inventory and accounts receivables. In other words, Logistic is alleging that Debtor

     use of Oriental’s collateral without any concession for the past three months precludes

     Oriental’s lien and rights in the post-petition collateral and proceeds. Oriental disagrees.


                   In analyzing Logistics’ allegation, we must look to the Puerto Rico version of the

     Uniform Commercial Code, regarding a secured party's rights on disposition of collateral

     and proceeds. Specifically, Section 9-315 (19 L.P.R.A. § 2265) states as follows:


                            (a) Disposition of collateral: continuation of security interest or
                            agricultural lien; proceeds. Except as otherwise provided in this
                            chapter:
                                        (1) A security interest or agricultural lien continues in
                                        collateral notwithstanding sale, lease, license, exchange, or
                                        other disposition thereof unless the secured party authorized
                                        the disposition free of the security interest or agricultural lien
                                        (2) a security interest attaches to any identifiable proceeds of
                                        collateral, and
                                        (3) a person to whom collateral has been disposed incurs no
                                        personal liability on account of an unauthorized transfer
                                        unless it has failed to act in good faith.
                            (…)
                Courts have held that a secured party's authorization may nullify its security interest

     in the collateral, so long as “there is a clear manifestation of the secured party's intent that

     the collateral be transferred free and clear of its security interest.” In re Southern

     Properties, Inc., 44 B.R. 838, 843 (Bankr.E.D.Va.1984) (interpreting the Virginia version

     of UCC); In re Brubaker, 57 B.R. 736, 740 (Bankr.W.D.Va.1986) (interpreting the

     Virginia version of UCC).


                However, Debtor’s use of the Oriental’s collateral prior to the filing of the

     Stipulation has no effect on the Oriental’s security interest in the proceeds of its collateral.
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     Section 9-315 (19 L.P.R.A. § 2265) of the Puerto Rico version of the Uniform Commercial

     Code preserves Oriental’s interest in its post-petition inventory and accounts, regardless of

     Oriental’s consent to Debtor’s use of the cash collateral. Moreover, Section 363 of the

     Bankruptcy Code does not alter the rule established by Section 9-315 (19 L.P.R.A. § 2265)

     of the Puerto Rico version of the Uniform Commercial Code as it does not requires a

     secured party to obtain a court order to preserve its rights in the proceeds of cash collateral.

     Indeed, Debtor’s use of Oriental’s cash collateral prior to the filing of the Stipulation does

     not affect Oriental’s security interest in the proceeds of the cash collateral.


                                                      III. CONCLUSION

                WHEREFORE, for all the forgoing reasons, Oriental Bank requests that the Court

     enter an order denying Logisitic’s Objection to the “Joint Stipulation for Interim Use of

     Cash Collateral and Adequate Protection”.

                Respectfully submitted.


                                     CERTIFICATE OF SERVICE
     I HEREBY CERTIFY, that a copy of this motion is being sent by first class mail to the
     Debtor, SKYTEC, INC. at the address on record: 500 CARR 869, SUITE 501, CATAÑO,
     PUERTO RICO 00962; and through CM/ECF to the following parties: all participants;
     Debtor’s attorney, the US Trustee, and Logistic System, Inc through its attorneys of record:
     Solymar Castillo Morales, Esq.; Bryan T. Glover, and Carlos A. Rodríguez Vidal.

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